-6&$1' 5HY                Case 5:23-mc-80015-EJD Document 1-7 Filed 01/13/23 Page 1 of 1
                                                                                  &,9,/&29(56+((7
7KH-6&$1'FLYLOFRYHUVKHHW DQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHQRUVXSSOHPHQWWKHILOLQJDQGVHUYLFHRI SOHDGLQJVRU RWKHU SDSHUVDVUHTXLUHGE\ ODZ
H[FHSWDVSURYLGHGE\ ORFDOUXOHV RIFRXUW 7KLVIRUPDSSURYHG LQLWVRULJLQDOIRUP E\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHU  LVUHTXLUHGIRU WKH&OHUNRI
&RXUWWRLQLWLDWHWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
, D 3/$,17,))6                                                                                                 '()(1'$176
  Fredric N. Eshelman                                                                                        Google, LLC
   E &RXQW\RI 5HVLGHQFHRI)LUVW/LVWHG 3ODLQWLII                  New Hanover, North Carolina                 &RXQW\ RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW               Santa Clara
            (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                127(,1/$1' &21'(01$7,21&$6(686(7+(/2&$7,212)
                                                                                                                           7+(75$&7 2)/$1',192/9('
      F      $WWRUQH\V(Firm Name, Address, and Telephone Number)                                               $WWRUQH\V(If Known)
 Conrad | Metlitzky | Kane LLP
 Four Embarcadero Center Suite 400, San Francisco, CA 9411 (415) 343-7100

,,         %$6,62)-85,6',&7,21(Place an “X” in One Box Only)                                  ,,, &,7,=(16+,32)35,1&,3$/ 3$57,(6 (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                       and One Box for Defendant)
                                                                                                                                            37)       '()                                       37)          '()
          86 *RYHUQPHQW3ODLQWLII           )HGHUDO 4XHVWLRQ                                  &LWL]HQRI7KLV6WDWH                               ,QFRUSRUDWHG or3ULQFLSDO3ODFH                 
                                                   (U.S. Government Not a Party)
                                                                                                                                                              RI%XVLQHVV,Q7KLV6WDWH
                                                                                                      &LWL]HQ RI$QRWKHU6WDWH                            ,QFRUSRUDWHG and3ULQFLSDO3ODFH               
          86 *RYHUQPHQW'HIHQGDQW             'LYHUVLW\                                                                                                 RI%XVLQHVV ,Q$QRWKHU6WDWH
                                                  (Indicate Citizenship of Parties in Item III)
                                                                                                      &LWL]HQ RU6XEMHFWRID                            )RUHLJQ1DWLRQ                                 
                                                                                                      )RUHLJQ&RXQWU\

,9           1$785( 2)68,7 (Place an “X” in One Box Only)
          &2175$&7                                                      72576                                   )25)(,785(3(1$/7<                        %$1.5837&<                         27+(567$787(6
   ,QVXUDQFH                           3(5621$/,1-85<                    3(5621$/,1-85<                 'UXJ 5HODWHG 6HL]XUHRI          $SSHDO 86&              )DOVH&ODLPV $FW
   0DULQH                                                                                                       3URSHUW\ 86&            :LWKGUDZDO86&               4XL7DP 86&
                                         $LUSODQH                        3HUVRQDO,QMXU\ ±3URGXFW
   0LOOHU$FW                                                                /LDELOLW\                     2WKHU                                                                 D
                                          $LUSODQH3URGXFW/LDELOLW\
    1HJRWLDEOH,QVWUXPHQW                                                +HDOWK &DUH                             /$%25                       3523(57<5,*+76                   6WDWH5HDSSRUWLRQPHQW
                                         $VVDXOW /LEHO 6ODQGHU
   5HFRYHU\ RI                                                              3KDUPDFHXWLFDO3HUVRQDO                                                                                 $QWLWUXVW
                                         )HGHUDO(PSOR\HUV¶                                                 )DLU/DERU6WDQGDUGV $FW         &RS\ULJKWV
       2YHUSD\PHQW2I                                                           ,QMXU\3URGXFW/LDELOLW\                                                                                 %DQNV DQG %DQNLQJ
                                             /LDELOLW\                                                         /DERU0DQDJHPHQW                3DWHQW
       9HWHUDQ¶V%HQHILWV                                                   $VEHVWRV 3HUVRQDO,QMXU\                                                                                 &RPPHUFH
                                         0DULQH                                                                 5HODWLRQV                        3DWHQWņ$EEUHYLDWHG1HZ
   0HGLFDUH$FW                                                             3URGXFW/LDELOLW\
                                          0DULQH3URGXFW /LDELOLW\                                          5DLOZD\ /DERU$FW                     'UXJ $SSOLFDWLRQ                'HSRUWDWLRQ
   5HFRYHU\ RI'HIDXOWHG                                                3(5621$/3523(57<                                                                                           5DFNHWHHU,QIOXHQFHG
                                         0RWRU9HKLFOH                                                      )DPLO\ DQG0HGLFDO               7UDGHPDUN
       6WXGHQW /RDQV ([FOXGHV                                                2WKHU)UDXG                                                                                                  &RUUXSW 2UJDQL]DWLRQV
                                         0RWRU9HKLFOH3URGXFW                                                 /HDYH$FW                       'HIHQG7UDGH6HFUHWV
       9HWHUDQV                                                              7UXWKLQ /HQGLQJ
                                             /LDELOLW\                                                         2WKHU/DERU/LWLJDWLRQ              $FWRI                     &RQVXPHU&UHGLW
   5HFRYHU\ RI                                                          2WKHU3HUVRQDO3URSHUW\
                                         2WKHU3HUVRQDO,QMXU\                                              (PSOR\HH5HWLUHPHQW                                                  7HOHSKRQH&RQVXPHU
       2YHUSD\PHQW                                                                                                                                    62&,$/6(&85,7<
                                                                                 'DPDJH                             ,QFRPH6HFXULW\$FW                                                      3URWHFWLRQ $FW
    RI9HWHUDQ¶V%HQHILWV                3HUVRQDO ,QMXU\0HGLFDO                                                                               +,$ II
                                             0DOSUDFWLFH                    3URSHUW\ 'DPDJH3URGXFW                                                                                 &DEOH6DW79
   6WRFNKROGHUV¶ 6XLWV                                                       /LDELOLW\                           ,00,*5$7,21                    %ODFN/XQJ                   6HFXULWLHV&RPPRGLWLHV
   2WKHU&RQWUDFW                                                                                            1DWXUDOL]DWLRQ                   ',:&',::  J                      ([FKDQJH
                                              &,9,/5,*+76                  35,621(53(7,7,216
   &RQWUDFW3URGXFW /LDELOLW\                                                                                   $SSOLFDWLRQ                     66,'7LWOH;9,
                                          2WKHU&LYLO5LJKWV                                                                                                                          2WKHU6WDWXWRU\ $FWLRQV
                                                                                +$%($6&25386                   2WKHU,PPLJUDWLRQ
   )UDQFKLVH                                                                                                                                     56,  J                        $JULFXOWXUDO $FWV
                                          9RWLQJ                         $OLHQ'HWDLQHH                     $FWLRQV
           5($/3523(57<                 (PSOR\PHQW                                                                                             )('(5$/7$;68,76                   (QYLURQPHQWDO0DWWHUV
                                                                              0RWLRQVWR 9DFDWH
   /DQG &RQGHPQDWLRQ                  +RXVLQJ                            6HQWHQFH                                                             7D[HV 863ODLQWLII RU         )UHHGRP RI,QIRUPDWLRQ
                                             $FFRPPRGDWLRQV                                                                                              'HIHQGDQW                           $FW
   )RUHFORVXUH                                                           *HQHUDO
                                         $PHUZ'LVDELOLWLHV±                                                                                   ,56±7KLUG3DUW\  86&          $UELWUDWLRQ
   5HQW/HDVH (MHFWPHQW                                               'HDWK3HQDOW\
                                             (PSOR\PHQW                                                                                                                            $GPLQLVWUDWLYH3URFHGXUH
    7RUWV WR/DQG                                                                 27+(5
                                         $PHUZ'LVDELOLWLHV±2WKHU                                                                                                                      $FW5HYLHZ RU$SSHDORI
   7RUW3URGXFW/LDELOLW\                                                0DQGDPXV 2WKHU                                                                                              $JHQF\'HFLVLRQ
   $OO2WKHU5HDO 3URSHUW\           (GXFDWLRQ
                                                                             &LYLO5LJKWV                                                                                              &RQVWLWXWLRQDOLW\ RI6WDWH
                                                                              3ULVRQ&RQGLWLRQ                                                                                            6WDWXWHV
                                                                             &LYLO'HWDLQHH±
                                                                                 &RQGLWLRQVRI
                                                                                 &RQILQHPHQW

9            25,*,1(Place an “X” in One Box Only)
          2ULJLQDO                    5HPRYHGIURP                    5HPDQGHGIURP             5HLQVWDWHGRU             7UDQVIHUUHGIURP                 0XOWLGLVWULFW             0XOWLGLVWULFW
           3URFHHGLQJ                   6WDWH&RXUW                     $SSHOODWH&RXUW             5HRSHQHG                  $QRWKHU'LVWULFW (specify)        /LWLJDWLRQ±7UDQVIHU        /LWLJDWLRQ±'LUHFW)LOH


9,           &$86(2) &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                         28 U.S.C. § 1782
              $&7,21
                                 %ULHIGHVFULSWLRQRIFDXVH
                                  EX PARTE APPLICATION FOR AN ORDER GRANTING LEAVE TO OBTAIN DISCOVERY FOR USE IN FOREIGN PROCEEDINGS

9,,          5(48(67(',1                   &+(&.,)7+,6 ,6$&/$66$&7,21                          '(0$1'                                        &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
              &203/$,17                     81'(5 58/()HG5&LY3                                                                           -85<'(0$1'             <HV      1R

9,,, 5(/$7(' &$6( 6                                       -8'*(                                                      '2&.(7180%(5
      ,)$1< (See instructions):
,;          ',9,6,21$/$66,*10(17 &LYLO/RFDO5XOH
 3ODFHDQ³;´LQ2QH%R[2QO\    6$1)5$1&,6&22$./$1'                                                                            6$1-26(                        (85(.$0&.,1/(<9,//(


'$7( 01/13/2023                                             6,*1$785(2)$77251(<2)5(&25'                                                 /s/ William J. Cooper
